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EXHIBIT 1
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April 9, 2009

ViA E-MAIL AND FIRST CLASS MATL

Howard Fetner, Esq.

Day Pitney LLP

242 Trumbull Street
Hartford, Connecticut 06103

Re: Dongeuk University v. Yale University, Case No. 3:08-CV-0441
Dear Howie:

I write to confirm the matters we discussed during our telephone conference on April 7,
2009,

A. Production Format

I proposed that the parties produce documents as they are kept in the ordinary course of
business, rather than identify the range of documents responsive to each document request by
production numbers. I noted that this will likely alleviate the logistical burden on both parties of
categorizing the potentially large volume of documents to be produced in this case, You
responded that, because most of the documents produced by Dongguk will likely be in Korean, it
would greatly facilitate your review of Dongguk’s documents if Dongguk identifies the
substantive categories of documents in each production.

We therefore agreed to revisit this issue after the parties have collected their respective
documents and ascertained how burdensome identifying documents by category will be. We

_ also agreed to discuss exchanging custodian lists so that each party knows from which

custodian’s files the opposing party’s documents were produced,

I requested that you produce Yale’s documents as single-page TIFFs with an IPRO LFP
and Concordance load file with boundaries and text or document-level text files. You agreed to
investigate and inform me of whether you can comply with my request. 1 offered, to the extent
possible, to produce Dongguk’s documents in a format that was most convenient for Yale’s
review system. You agreed to investigate the issue and notify me of the document format that
Yale prefers.

U.S. practice ronducied through McDemaott Wil &Emary we.
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B. Search of ESI

_ T suggested that the parties exchange proposed lists of search terms for the purpose of
collecting and reviewing potentially responsive electronically stored information (“ESI”), We
agreed that the parties will exchange proposed search term lists by April 15, 2009. Dongguk will
provide Yale with the termns that Dongguk proposes using on Dongguk’s ESI (with Korean
franslation) and Yale will propose a list of terms that it intends to use to search Yale’s ESI. We
will then negotiate over the lists and, after reaching agreement, run the search terms over our
clients’ respective ESI. If either party has 2 reason to believe based on the volume of “hits” that
a particular term is generating too many false positives, it will advise the other side and attempt
to negotiate a reasonable modification to the search term that results in fewer false positives,

Cc, Timing of Written Discovery Responses

I advised you that Dongguk will submit written responses and objections to Yale’s First
Set of Requests for Production and Yale’s First Set of Requests for Admission by April 17, 2009.
[ also stated that Dongguk will serve its responses and objections to Yale’s First Set of
Interrogatories by the end of April, You agreed to these dates, but requested that I advise you of
Dongguk’s objections to the interrogatories by April 17, 2009. I took your request under
advisement and can now advise you that Dongguk will advise you of its objections to Yale’s
First Set of interrogatories by April 17, 2009,

D, Confidentiality Stipulation

We discussed the nine objections that you raised to Dongguk’s draft Confidentiality
Stipulation in your email of April 7, 2009.

First, you contended that “confidential information” as defined in Paragraph 1 of the
Confidentiality Stipulation should not be limited to “business or financial information.” J agreed
to broaden definition to include any information that the designating party reasonably and in
good faith believes is confidential and which it would not normally reveal to others or would
require that others maintain in confidence.

Second, you requested that the permissive uses of “confidential” and “restricted
confidential” documents as set forth in Paragraphs 4-5 of the Confidentiality Stipulation be
extended to include settlement conferences and appeals. 1 agreed to modify those provisions as
you requested.

Third, you asserted that the Confidentiality Stipulation should allow the parties to share
“confidential” and “restricted confidential” documents with external translators. | agreed to
include an explicit provision granting such permission. .

Your fourth through seventh points all revolve around your objection to having a two-tier
Confidentiality Stipulation. 1 informed you that Dongguk included a heightened level of
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confidentiality —- which is a common feature of confidentiality stipulations —- because Yale had
requested a vast array of documents containing potentially sensitive personal and/or financial
information.

‘You asserted that Yale’s in-house counsel and administrators must be able to review all
of Dongguk’s documents in order to prepare your case. I therefore proposed to modify the
Confidentiality Stipulation to allow the parties’ in-house counsel and a limited number of party
representatives to review the documents at the office of the parties’ outside counsel. You
objected, insisting that this was too burdensome for your client.

We agreed to revisit this issue after we meet and confer over the scope of the parties’
document requests. Once the parties have a better understanding of what documents they will be
producing, we will be in a better position to determine how best to address each party's
confidentiality concerns and the extent to which a heightened confidentiality tier is needed.

Eighth, you noted that it was impractical to require objections to confidentiality
designations be made within 30 days after production of the confidential material because the
fength of time necessary for review depends on the volume of documents in each production and
the language in which the documents are produced. I therefore agreed to modify the provision to
give the parties a reasonable time in which to object.

Ninth, you argued that Yale’s employees should not be required to sign an undertaking
because you would be signing the Stipulation on behalf of Yale and its employees, Dongguk
insists that such undertakings be signed because, for example, the Stipulation may cease to bind
Yale’s employees should their employment be terminated. .We agreed to revisit this issue in
connection with issues four through seven.

* * *

Please let me know immediately if my summary of our discussion is inaccurate in any
way.

Sincerely,

Clos

Andrew B, Kratenstein

cc: Felix Springer, Esq.
Ira Grudberg, Esq.
Robert A. Weiner, Esq.
Jean Bae, Esq.
